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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

    IN RE NATIONAL PRESCRIPTION                             MDL No. 2804
    OPIATE LITIGATION
                                                            Case No. 17-md-2804
    This document relates to:
                                                            Hon. Dan Aaron Polster
    “Track One Cases”


                         SUMMARY SHEET FOR MALLINCKRODT’S
                        MOTION FOR PARTIAL SUMMARY JUDGMENT

Motion Name: Mallinckrodt’s Motion for Partial Summary Judgment

Moving Parties: Mallinckrodt LLC, SpecGx LLC, and Mallinckrodt plc1

Summary: Plaintiffs have failed to produce any evidence to support their claims against
Mallinckrodt LLC and SpecGx LLC (“Mallinckrodt”) in at least the following two crucial
respects, and accordingly, the Court should grant summary judgment for Mallinckrodt on these
claims to narrow the case for trial.

        1.       The record is devoid of evidence that Mallinckrodt promoted the prescribing of its
generic medications—which accounted for 99.7% of Mallinckrodt’s opioid sales—at all, much
less in a false or misleading manner. This Court should grant Mallinckrodt summary judgment
on Plaintiffs’ marketing-based claims to the extent they are based on Mallinckrodt’s generic
opioid products.

        2.     Plaintiffs have failed to identify a single suspicious order that Mallinckrodt
shipped to any customer, at all, and have developed no evidence that Mallinckrodt’s anti-
diversion program was in any way deficient after 2012. The Court should grant summary
judgment to Mallinckrodt on all diversion-based claims at least as to the time period after 2012.

Filing Date: June 28, 2019

Response Date: July 31, 2019

Reply Date: August 16, 2019




1
 Mallinckrodt plc is an Irish company that is not subject to and contests personal jurisdiction for the reasons
explained in its pending motion to dismiss for lack of personal jurisdiction; it is specially appearing to join this
motion as a result of the Court’s deadline to file dispositive and Daubert motions, and, thus, it does not waive and
expressly preserves its pending personal jurisdiction challenge.
